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8    WOLCHOK, FOX FREIGHT, INC. and
     CTU LIMITED GROUP
9
                               UNITED STATES DISTRICT COURT
10
                                   DISTRICT OF NEVADA
11
     AMARA MECHELL BOYD, an individual,
12                                                    CASE NO. 2:22-cv-716
                 Plaintiff,
13
     vs.                                              DEFENDANTS MATTHEW JAMES
14                                                    WOLCHOK, FOX FREIGHT, INC.
     MATTHEW JAMES WOLCHOK, an                        AND CTU LIMITED GROUP’S
15   individual; FOX FREIGHT, INC., a                 CERTIFICATE OF INTERESTED
     corporation; CTU LIMITED GROUP, a                PARTIES
16   corporation; DOES 1-10; and ROE BUSINESS
     ENIITIES 1-10,
17
                 Defendants.
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1      DEFENDANTS MATTHEW JAMES WOLCHOK, FOX FREIGHT, INC. AND CTU
            LIMITED GROUP’S CERTIFICATE OF INTERESTED PARTIES
2

3           Pursuant to LR 10-6, the undersigned counsel of record for Defendants MATTHEW
4    JAMES WOLCHOK, FOX FREIGHT, INC. and CTU LIMITED GROUP certifies that there are
5    no known interested parties other than those participating in the case.
6

7           DATED this 4th day of May 2022.
8                                                  THORNDAL ARMSTRONG DELK
                                                   BALKENBUSH & EISINGER
9

10                                                 /s/ Michael C. Hetey, Esq.
                                                   MICHAEL C. HETEY, ESQ.
11                                                 Nevada Bar No. 5668
                                                   HAROLD J. ROSENTHAL, ESQ.
12                                                 Nevada Bar No. 10208
                                                   1100 East Bridger Avenue
13                                                 Las Vegas, Nevada 89101
                                                   Attorneys for Defendants MATTHEW JAMES
14                                                 WOLCHOK, FOX FREIGHT, INC. and
                                                   CTU LIMITED GROUP
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1                                    CERTIFICATE OF SERVICE
2           I HEREBY CERTIFY that on the 4th day of May 2022, service of the above and
3    foregoing DEFENDANTS MATTHEW JAMES WOLCHOK, FOX FREIGHT, INC. AND
4    CTU LIMITED GROUP’S CERTIFICATE OF INTERESTED PARTIES was made upon
5    each of the parties by placing a true and correct copy thereof in a sealed envelope placed in the
6    United States Mail, postage pre-paid and addressed as follows.
7
     Brian P. Clark, Esq.
8    Lukas B. McCourt
     CLARK McCOURT
9
     7371 Prairie Falcon Road, Suite 120
10
     Las Vegas, NV 89128
     Attorneys for Plaintiff
11
     AMARA MECHELL BOYD

12

13
                                                   /s/ Jennifer Hodge
14                                                 An employee of THORNDAL ARMSTRONG
                                                   DELK BALKENBUSH & EISINGER
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